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             February 25, 2019

             VIA ECF (with courtesy copy to: Torres NYSDChambers @nysd.uscourts .gov)

             Hon. Analisa Torres
             Daniel Patrick Moynihan United States Courthouse
             500 Pearl Street
             Courtroom 15D
             New York, NY 10007-1312

                         Re:      Casa Express Corp, as Trustee of Casa Express Trust v. Bolivarian Republic
                                  of Venezuela; 18-CV-11940 (AT) (KNF)

             Dear Judge Torres:

                      This firm represents Casa Express Corp, as Trustee of Casa Express Trust ("Casa
             Express") , the plaintiff in the above-referenced action. The defendant in this action, Bolivarian
             Republic of Venezuela ("Venezuela"), has not yet appeared. As reflected in ECF No. 11, it
             has until March 25, 2019, to do so.

                     Presently on the Court's calendar in this action are three deadlines set to expire prior
             to that March 25, 2019, appearance deadline: ECF No. 9 requires counsel for all parties to
             submit a joint status letter, along with a Case Management Plan and Scheduling Order, by
             March 6, 2019, and then to appear for an initial pretrial conference with the Court at 11 a.m.
             on March 13, 2019; ECF No . 10 requires the parties to confer and decide by March 6, 2019,
             whether to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the
             assigned Magistrate Judge.

                      Given that Venezuela has not yet appeared in this action, and that it has until March
             25, 2019, to do so, Casa Express respectfully requests, pursuant to section II(B) of the Court' s
             Individual Practices in Civil Cases, that the March 6 and March 13, 2019, deadlines set forth
             in ECF Nos. 9 and 10 be adjourned to dates convenient for the Court after March 25, 2019.
             This is Casa Express' first request for such relief.
